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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

WILLIE LEE HAVMMERI,                             §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §     Civil Action No. 3:22-cv-00594-E-BT
                                                 §
METHODIST HEALTH SYSTEMS,                        §
DALLAS,                                          §
                                                 §
               Defendant.                        §

            DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

       Defendant Methodist Hospitals of Dallas d/b/a Methodist Health System, incorrectly

named as “Methodist Health Systems, Dallas,” (“Methodist”) files this Reply in Support of Its

Motion to Dismiss (doc. 33) (“Motion”) and states:

                                   PROCEDURAL HISTORY

       1.      As set forth in more detail in the Motion, Plaintiff Willie Lee HavMmeri

(“Plaintiff”), proceeding pro se, filed suit against Methodist on March 14, 2022. [Doc. 3.]

Methodist thereafter filed its Motion for More Definite Statement and Brief in Support (doc. 21),

which the Court granted on October 7, 2022, when it ordered Plaintiff to “file a verified (or signed)

amended complaint by October 31, 2022,” and gave him specific instructions for what to include.

[Doc. 23.]

       2.      Plaintiff has not filed an amended complaint. He filed a “More Definite Statement”

on October 24, 2022, (doc. 24), apparently in response to the Court’s October 23 Order, and has

filed several “Proposed Orders” requesting various forms of relief. Methodist filed the Motion on

November 10, 2022, arguing that the Court should dismiss Plaintiff’s claims because (1) he failed

to file an amended complaint and (2) even if the “More Definite Statement” is construed as an


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amended complaint, it fails to cure the deficiencies identified in the Motion for More Definite

Statement and fails to comply with the October 23 Order. Plaintiff filed his “OBJECTION” to the

Motion (doc. 34) on November 14, 2022. On November 28, 2022, Plaintiff filed his “Additional

Objection to Motion to Dismiss” (doc. 44). The arguments in the Objection and Additional

Objection are at times difficult to understand, but nothing in them should dissuade the Court from

granting the Motion and dismissing this lawsuit in its entirety.

                               ARGUMENT AND AUTHORITY

       3.      In the Motion, Methodist observed that the “More Definite Statement” makes

reference in one form or another to the Texas Health & Safety Code, the Fair Labor Standards Act,

unspecified portions of the Texas Labor Code, and Title VII of the Civil Rights Act. It should be

a simple enough task for Plaintiff to clearly and concisely state his legal claims, but despite being

given every opportunity, including in the Objection and Additional Objection, he has failed to do

so.

       4.      Texas Health & Safety Code. In the Objection, Plaintiff claims that by his actions

in sending two emails to his supervisors during his employment, he “satisf[ies] all legal

requirements as to ‘filing a complaint with an employer, in good faith.’ (Doc. 24 – Section

161.134(F) [statutes.capitol.texas.gov]).” [Objection (doc. 34) at p. 1 (all emphasis original).]

That is a reference to the Texas Health & Safety Code, which (as explained in the Motion) provides

“whistleblower” rights to certain health sector employees who report violations of law and are

terminated as a result. There is a 180-day limitations period. Tex. Health & Safety Code §

161.134(h).

       5.      If Plaintiff intends to state a claim under this statute, it is facially barred by

limitations, insofar as Plaintiff alleges that he was fired on April 10, 2020, far more than 180 days



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before he filed suit. [Motion (doc. 33) § B.1.] The Court may grant a motion to dismiss based on

limitations when the accrual date is apparent from the face of the pleadings. Finney v. VHS San

Antonio Partners, LLC, No. 5:14-cv-00840-XR, 2015 WL 4637696, at *4 (W.D. Tex. Aug. 3,

2015). In the Objection, Plaintiff accuses Methodist of being “purposefully disingenuous” in

making this argument, but it is apparent that he fails to understand the difference between deadlines

to file a charge with the EEOC for discrimination claims, with the statute of limitations for filing

suit under the Health & Safety Code for violations thereof. Plaintiff’s lack of understanding of the

law is not a reason to delay dismissal.

       6.      Fair Labor Standards Act. In the “More Definite Statement,” Plaintiff made

reference in passing to a portion of the FLSA that protects employees who raise complaints about

wage and hour violations. In the Motion, Methodist argued that the facts alleged in the “More

Definite Statement,” even if true, would not make out a claim under this section of the FLSA, in

that he did not allege facts showing that he engaged in protected activity under the FLSA. [Motion

(doc. 33) § B.2.] Plaintiff utterly fails to address this argument in the Objection, and makes no

further mention of the FLSA. To the extent the Court construes the “More Definite Statement” to

be an attempt to plead an FLSA claim, it is an unsuccessful one, and certainly does not comply

with the terms of the Court’s October 23 Order requiring specific factual and legal allegations.

       7.      Texas Labor Code. Plaintiff referenced the Texas Labor Code in the “More

Definite Statement.” In the Motion, Methodist noted that charges of discrimination under the Labor

Code must be filed within 180 days of the last discriminatory act, but that it was evident from the

face of Plaintiff’s Charge of Discrimination that he failed to file his Charge in a timely manner.

[Motion (doc. 33) § B.3.] Plaintiff addresses this argument by conceding that he did not file the

Charge on time, while claiming that he “attempted” to submit it before the deadline (meaning that



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he knew about the deadline) but was unable to do so. He then cites Federal Rule of Civil Procedure

6, which of course has to do with deadlines for filing pleadings and other papers in a lawsuit, but

has no relevance to the limitations period in the Texas Labor Code. He cites no authority for the

implied proposition that his failure to comply with the mandatory deadline should be excused for

any of the reasons he offers, and of course it is not the place of either Methodist or this Court to

supply such authority. Any claim under the Labor Code is facially barred as pleaded (or re-

pleaded).1

         8.       Title VII. In the Motion, Methodist observed that it is not clear from the “More

Definite Statement” whether Plaintiff intends to assert a claim under Title VII, and if so, whether

he means to plead a discrimination claim based on his sex, or a claim for retaliation for having

engaged in a protected activity. [Motion (doc. 33) §§ B.4 – B.5.] In the Objection, Plaintiff points

to two emails he attached to the “More Definite Statement” and says that without them, “I would

have no case for Discrimination nor Retaliation.” Solely for purposes of the Motion and this Reply,

Methodist assumes that Plaintiff has pleaded discrimination and retaliation under Title VII.

         9.       Retaliation. The “More Definite Statement,” even as explained in the Objection,

still falls short of pleading a claim of retaliation on which relief may be granted, because the emails

– which are pleading exhibits the Court may consider2 – are not evidence of protected activity. To

engage in “protected activity” under Title VII, an employee must voice a complaint about

actionable discrimination, i.e., discrimination “with respect to his compensation, terms, conditions,

or privileges of employment” based on some protected characteristic. 42 U.S.C. § 2000e-2(a)(i).




1
  In the “Additional Objection,” filed on the day this Reply is due, Plaintiff seems to argue that an email he sent to
certain Methodist “administrators” after his termination but “well before the deadline to file with the TWC, EEOC
and in compliance with the Texas Labor Code” itself constitutes exhaustion of administrative remedies. That is not
the law.
2
  Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F.3d 285, 288 (5th Cir. 2004).

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Plaintiff fails in the Objection to explain how either email is a complaint about actionable

discrimination. The Court must look at the March 17 email (which is a complaint about a rude co-

worker), not at Plaintiff’s description of the email (which he says detailed a “long history of

harassment, threats, and workplace violence,” which it simply does not). The email – the only

alleged protected activity – falls short as a matter of law.

         10.       Sex Discrimination. Finally, as stated in the Motion, Plaintiff has failed in the

“More Definite Statement” to plead an actionable claim for sex discrimination. The entire

gravamen of the narrative in the “More Definite Statement” is that Plaintiff was fired for

complaining, not that he was fired because of his sex or gender. Methodist highlighted this in the

Motion, noting that Plaintiff failed to plead that he (1) suffered an ultimate employment action (2)

because of his sex. [Motion (doc. 33) § B.5.] Plaintiff does not contend in the Objection that he

has pleaded a claim of sex discrimination. He uses the word “discrimination,” but it is evident

from the context, in both the Objection and the “More Definite Statement,” that he means to allege

only that Methodist’s decision to separate him from employment was retaliatory in nature.3 That

is, he claims to have made an internal complaint about discrimination (though he did not, or at

least not an actionable one), but he does not plead the occurrence of any “ultimate employment

action” that was itself motivated by his sex. The Court should dismiss Plaintiff’s Title VII

discrimination claim because it fails as a matter of law.4

         11.       As this Court has noted, “although courts construe pro se litigants’ pleadings

liberally, pro se parties are not exempt from complying with the relevant rules of procedural and



3
  In attempting to urge his request for appointment of counsel for at least the third time, Plaintiff argues in the Objection
that he does not “know how, LEGALLY, one states that they were unceremoniously fired for complaining.” [Objection
(doc. 34) at p. 5.]
4
  If the Court agrees that Plaintiff’s Title VII discrimination and retaliation claims should be dismissed on their merits,
the Court can dismiss the tag-along Texas Labor Code claims on their merits without reaching the “failure to exhaust”
argument discussed above.

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substantive law.” Garry v. Yeager, No. 3:21-cv-00813-B-BT, 2022 WL 1750044, at *2 (N.D. Tex.

May 11, 2022); see also Birl v. Estelle, 660 F.2d 592, 593 (5th Cir. 1981) (“the right of self-

representation does not exempt a party from compliance with the relevant rules of procedural and

substantive law. Rather, such a litigant acquiesces in and subjects himself to the established rules

of practice and procedure”). It is “not incumbent on the court to give litigants repeated

opportunities to prosecute and defend their claims[.]” Garry, 2022 WL 1750044, at *3 (quoting

Arkansas v. Wilmington Tr. N.A., 2020 WL 1249570, at *12 (N.D. Tex. Mar. 16, 2020)). The Court

has given Plaintiff a chance to amend his claims to assert legally and factually viable causes of

action. He failed to do so in the “More Definite Statement,” even if it is construed as an amended

complaint, and his explanations in the Objection and Additional Objection are unavailing. The

Court should proceed with dismissal.

                         CONCLUSION AND RELIEF REQUESTED

        For the reasons set forth above and in the Motion, the Court should grant the Motion,

dismiss Plaintiff’s claims against Methodist with prejudice, deny any other relief requested by

Plaintiff, and grant all other relief, general or special, at law or in equity, to which Methodist may

be justly entitled.




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                                             Respectfully submitted,

                                             OGLETREE, DEAKINS, NASH, SMOAK &
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                                          ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was filed using the Court’s ECF
system on November 28, 2022, which will give notice to all parties registered to receive electronic
service, including pro se Plaintiff Willie Lee HavMmeri.



                                            /s/ John M. Barcus
                                          John M. Barcus




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